Case 2:05-cr-20256-.]PI\/| Document 8 Filed 07/27/05 Page 1 of 2 Page|D 7

 

   
 

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m THE UNITED sTATEs DISTRICT COURT ' ' M -- D_C.
FOR THE wEsTERN DISTRICT oF TENNESSEE 95 JUL 27 ,_
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V. 05-20256-Ml

MICHELLE TURNEY THURLOUGH

 

ORDER ON ARRAIGNMENT

 

This cause came to be heard on QA,LAA C; 7, g 00 5 , the United States Attorney
for this district appeared on behalf of the Hveméient, and the defendant appeared in person and with
counsel:

NAME j€ wl MM who is Retained/Appointed.
¢___'-¢_-Mll

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (3 0) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended.

h%he defendant, who is not in custody, may stand on his present bond.

The defendant, (not having made bond) (being a state prisoner) (being a federal prisoner)
(being held without bond pursuant to BRA of 1984), is remanded to the custody of the U.S. Marshal.

MML@ K. &a/M

UNITED STATES MAGISTRATE JUDGE

CHARGES: 29:501 & 18:2;

U. S. Attorney assigned to Case: S. Parker

Age: §§

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Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:05-CR-20256 was distributed by faX, mail, or direct printing on
July 28, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

